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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
SHERYL WULTZ, et al.
Plaintiffs,
v. Civ. No. 11-01266 (SAS)
THE ISLAMIC REPUBLIC OF IRAN, et al.

Defendant.

REPLY DECLARATION OF DR. BOAZ SHNOOR

I, Dr. Boaz Shnoor of Jerusalem, Israel, declare pursuant to 28 U.S.C. § 1746 as follows:

INTRODUCTION

1. I have been asked by counsel for the Plaintiffs in the above-captioned matter to
prepare and submit this Reply Declaration for the purpose of responding to certain assertions
made in the Further Declaration of Peter Gad Naschitz, executed on November 11, 2011, which
was submitted by defendant Bank of China (“BOC”) in this action.

OPINION

A. This Reply Declaration Addresses Substantive Israeli Law Only

2. In his Further Declaration, Mr. Naschitz presents his opinions regarding two
distinct issues: (a) the substance of Israeli tort law; and (b) whether the constructive knowledge
allegations of the First Amended Complaint (“FAC”) state a claim under that law.

3. This declaration will address the first issue —1.e. Israeli tort law — only. Since (as I
have been informed by plaintiffs’ counsel) there is no motion pending regarding the sufficiency
of the allegations of the FAC there is no reason for me to address that issue — particularly as

discovery may result in new facts being revealed and the complaint ultimately being amended.
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4. Indeed, even if Mr. Naschitz’s conclusions as to whether the constructive
knowledge allegations of the FAC state a claim were correct (and in my opinion they are not)
those conclusions will be mooted if, as a result of discovery, the plaintiffs can show new facts,
i.e. facts in addition to those already alleged in the FAC.

B. In Ben Shimon v. Barda the Israeli Supreme Court Imposed Liability

5. Mr. Naschitz’s Further Declaration relies heavily on the decision of the Israeli
Supreme Court in C.A. 576/81 Ben Shimon v. Barda, 38(3) P.D. 1 (1984) which, according to
Mr. Naschitz, dismissed the claim against the defendants. Naschitz Further Decl. at § 7.

6. In fact, however — precisely contrary to Mr. Naschitz’s claim — in Ben Shimon the
Supreme Court unanimously reversed the decision of the lower court dismissing the action
against the defendants, and found the defendants liable. 7d. at 11 (“[WJe grant the appeal, vacate
the judgment of the lower court and hold that Barda was negligent vis-a-vis the appellant and
liable to him, and that the State of Israel is vicariously liable for his actions.”).

7. Furthermore, the facts and holding in Ben Shimon strongly support the instant
plaintiffs’ negligence claims against BOC. There, two teenagers ripped boards and barbed wire
off of a window to enter a pre-army training club, then pried the door to the weapons room out of
its moorings, and once in the weapons room broke a lock holding rifles in place and stole rifles
and ammunition. Several days later, in the course of playing a “war game,” they shot the plaintiff
in the head using the stolen weapons. The Supreme Court found the club operator and the State
of Israel liable in negligence to the plaintiff for not adequately securing the rifles, despite the fact
that the injuries to the plaintiff were the result of the intervening criminal conduct of third parties
(i.e. the teenagers) who had to forcefully break through three barriers (the window, the door and

the rifle lock) in order to reach and steal the weapons, and shot the plaintiff only days later.
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8. Indeed, unsurprisingly, Prof. Porat cited Ben Shimon as supporting authority in his
declaration in this action. See Declaration of Professor Ariel Porat, May 18, 2009, at § 61.

Cc. There Is No Basis to Distinguish “Terrorist” Crimes from Other Crimes

9. Mr. Naschitz asserts in his Further Declaration (see e.g. J] 4, 11) that BOC would
not be liable in negligence under Israeli law in this case even if it could have foreseen that the
accounts at issue were being used for “general” illegal activity; rather, BOC would have had to
been able to foresee that the accounts were being used specifically for terrorist crimes.

10. But Mr. Naschitz cites no authority in support of this assertion, and to the best of
my knowledge no such authority exists. On the contrary, the Supreme Court has made clear that
it is sufficient if the defendant could have foreseen that his conduct will enable some sort
criminal conduct by a third party; there is no requirement that the defendant be able to foresee
the specific type of crime ultimately committed or the specific type of harms ultimately caused.

11. For example, in Ben Shimon v. Barda (discussed above), the defendants were held
liable despite the fact that the harm to the plaintiff was caused by two different and unrelated
crimes that took place days apart: the theft of the rifles and the later shooting of the plaintiff. The
Supreme Court’s decision makes clear that because the theft of the rifles was foreseeable, the
defendants did not need to foresee the subsequent specific criminal use to which the rifles were
put. As the Court explained, “the liability of the tortfeasor does not depend on his foreseeing the
specifics of the harm as they occurred, and their severity. The relevant foreseeability is not exact
prognostication of all the details of the matter but rather seeing its general lines only. That is the
case regarding the event that constitutes the negligence; all the more so in respect to its results.”

Id. at 8 (citations and quotation marks omitted).
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12. The same rule is reflected in the Supreme Court’s decision in C.A. 3510/99 Valas
(Wallace) v. Egged, 45(5) P.D. 826. There, the Court found that the Egged bus company could
be held liable to a plaintiff who was beaten by thugs while waiting at an Egged bus terminal. The
decision makes clear that Egged’s liability did not turn on its ability to foresee the specific type
of crime committed against the plaintiff; rather it was sufficient that Egged could have foreseen
that passengers at the terminal might be victimized in one way or another by criminals. An
English translation of the decision in Valas, published by the Supreme Court, is attached hereto.!

13. In sum, there is no basis for Mr. Naschitz’s claim that BOC will be liable in
negligence only if the plaintiffs can prove that it could have foreseen that the accounts at issue
were being used for crimes related to terrorism, rather than crimes of another type. As the cases
above make clear, it is sufficient for plaintiffs to show that BOC could have seen that the activity
in the accounts reflected indicia of some type of illegal conduct.

D. The Cases Cited by Mr. Naschitz Are Inapposite

14. Mr. Naschitz cites a number of cases in his Further Declaration, none of which are
relevant here. Maccabi v. Dubek dealt with an attempt to import a Master Settlement Agreement
into Israel, and the court ruled that, due to the specific language of the relevant law, such
recognition should be done by the legislator. This decision did not even deal with negligence.
Carmel Hospital v. Malul dealt with the theory of proportional liability (which is not recognized
anywhere else in the world). The Supreme Court, by a majority of 5:4, accepted it only in a very
narrow set of cases while also recognizing the Loss of Chance theory in medical malpractice

cases. Again, this case had nothing to do with negligence.

' The document is available at http://elyon | .court.gov.il/files_eng/99/100/035/p03/99035 100.p03.pdf.

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15. Likewise, the negligence cases cited by Mr. Naschitz are of no relevance here: In
Kitan v. Weiss, the Supreme Court found no liability because the employee’s use of a company-
supplied gun to murder his attorney was entirely unforeseeable. Notably, in Ben Shimon vy.
Barda, the Court expressly stated that it would have imposed liability in Kitan if the employer
had had any indication that the employee might use the gun to attack anyone — whether his
lawyer or a different victim. The Va/as court also distinguished Kitan. Id. at 7. Similarly, Levy v.
State of Israel, Eshbal v. Azrieli and Yaar Zeev v. HaSneh are all irrelevant here, because
foreseeability was found lacking.? And Freimont v. Doe is inapposite because the court found
that action by the defendant would not have prevented the harm.

16. In sum, none of the cases cited by Mr. Naschitz are apposite to this case, much
less undermine plaintiffs’ claims in this action.

E. Tziring and Bank Mizrahi Cannot Be Distinguished on the Facts

17. In my prior declaration I cited and quoted the recent decisions in 7ziring v.
Mishkan and Bank Mizrahi v. Cohen as additional authority in support of the plaintiffs. Mr.
Naschitz seeks to distinguish those cases by focusing on their facts.

18. That effort should be rejected because as a reading of the relevant passages makes
clear, the 7ziring and Bank Mizrahi were addressing the general rules of liability of banks toward
third parties, and did not limit their remarks to the specific facts of the case.

F. Banks’ Liability in Israel - De Lege Lata and De Lege Ferenda

* Indeed, in 9212/09 Tzion Insurance y. State of Israel 56(2) P.D. 906 (2002) the court held the State
liable for harm that was caused in an arson, in circumstances similar to Yaar Zeev, since the State, as a
landowner that threw flammable waste into an adjacent yard, could have foreseen that having flammable
materials in close proximity to a building will result in fire, even if it could not necessarily have foreseen
an arson.
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19, Mr, Naschitz asserts in his Futher Declaration that his opinion “is based on the
law as embodied in statute and binding precedent” while Prof. Porat’s opinion and my own are
“an attempt to predict or speculate as to what the law might become based on certain liability
expanding trends.” fd. at 2. This characterization is completely groundless. The declaration
submitted by Prof. Porat, and my previous and current declarations, are based entirely on the
applicable statutes and existing Supreme Court precedents, and reflect those authoritative sources
of law as they exist today, as should be clear to any objective reader.

“90. Indeed, one need look no further than Tziring and Bank Mizrahi for persuasive
evidence that the current state of Israeli case law regarding the duties of banks to third parties is
as presented by Prof. Porat and myself.

21. ‘It is of course undisputed that the Israeli courts have never dealt with the specific
fact-pattern presented by this case. Thus, no one can cite to a single “on-point’ case that will
answer all questions and settle all disputes.

29 Rather, the proper course of analysis — which both Prof. Porat and I have followed
— is to apply the clear principles of the existing case law to the facts of this case. Doing so leads
clearly to the conclusion that BOC should be held liable if it is shown to have had constructive
knowledge that the accounts in question were being used for illegal purposes.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

December 12, 2011

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Dr. Boaz Shnoor

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CA 3510/99
Reuven Wallace
v
1. ‘EGGED’ Israel Transport Cooperation Society
2. Fassel Samuel

The Supreme Court sitting as the Court of Civil Appeals
[6 August 2001]
Before President A. Barak and Justices J. Tiirkel, E. Rivlin

Appeal on the judgment of the Jerusalem District Court (Justice D. Cheshin)
dated 13 April 1999 in CC 1294/97.

Facts: On August 30, 1995, while the appellant was waiting for a bus at an
Egged bus station, the respondent no. 2 and his friends beat up the appellant.
Passersby came to the appellant’s aid but he suffered serious injuries and
required hospitalization. Respondent no. 2 was convicted in the Magistrates
Court in Jerusalem of an offense according to section 380 of the Penal Law
5737-1977. The appellant filed a lawsuit against Egged and respondent no. 2 for
damages, claiming against Eeged negligence and breach of a statutory duty. The
Magistrates Court summarily dismissed the appellant’s lawsuit for failure to
show aclaim. The appellant is appealing this decision.

Held: It was not appropriate to summarily dismiss the appellant’s lawsuit
without weighing the factual and legal claims and the question of liability in
torts for the failure to take precautionary measures to prevent a criminal act that
was committed by a third party. In the Court’s view the fact that the occurrence
of an attack was spontaneous and unprovoked does not instantly remove it from
the realm of tort liability. At this stage in the proceedings, and before the
necessary determinations have been made, it was not appropriate to determine
that the incident at the Central Bus Station was unforeseeable, and it would not
be appropriate to say that as a question of legal policy, the respondent is exempt
from undertaking any precautionary measures in order to prevent such criminal
activity. Rather, the lower court needs to examine the specific circumstances of
the case. The Court also determined that it was not appropriate for the District
Court at this stage in the proceedings to make the determination that even if
there was negligent conduct on Egged’s part, in failure to place a security
person, there was no causal connection between the negligent conduct and the
harm to the appellant. Therefore the appeal was granted, the decision of the
lower court was overturned and the case was returned to the District Court to be
determined on the merits.
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Legislation cited:
Penal Law, 5737-1977, s. 380
Torts Ordinance [New Version] s. 35.

Regulations cited:
Civil Procedure Regulations, 5744-1984 — regulation 100(1).

Israeli Supreme Court cases cited:
[1] CA 343/74 Grubner v. City of Haifa IsrSC 30(1) 141.
[2] CA 76/86 Feinstein v. HS. Hotels Ltd. IsrSC 43(3) 124.

[3] CA 755/76 ‘Mishmar’ Guarding and Security Services Ltd. IsrSC 33(2)
656.

[4] CA350/77 Kitan v. Weiss IsrSC 33(2) 785.

[5] CA 796/80 Ohana v. Avraham IstSC 37(4) 337.

[6] CA5355/97 State of Israel v. Madah (unreported).

[7] CA 576/81 Ben Shimon v. Bardah IsrSC 38(3) 1.

[8] CA500/82 Etzioni v. Ezkar IsrSC 40(2) 733.

[9] CA 126/85 R.GM Mart v. State of Israel IsrSC 44(4) 272.
[10] CA8/79 Goldschmidt v. Arad IsrSC 35(3) 399.

[11] CA 145/80 Vaknin v. Bet Shemesh Local Council IsrSC 37(1) 113.
[12] CA371/90 Subachi v. Israel Train IstSC 47(3) 345.

[13] CA915/91 State of Israel v. Levi IsrSC 48(3) 45.

[14] CA704/71 Agabrya v. Hameiri IsrSC 26(1) 743.

American cases cited:

[15] Brogan Cadillac, Etc. v. Central Jersey Bk. 443 A. 2d 1108 (1981).

[16] Bradley Center, Inc. v. Wessner 296 S.E. 2d 693 (1982).

[17] Yarasoffv. Regents of University of California 17 Cal. 3d 425 (1976).

[18] Kline v. 1500 Massachusetts Avenue Apartment Corp. 439 F. 2d 477
(1970).

[19] Goldberg v. Housing Auth. of Newark 186 A. 2d 291 (1962).

[20] Viands v. Safeway Stores 107 A. 2d 118 (1954).

[21] Cornpropst v. Sloan 528 8.W. 2d 188 (1975).

[22] Carey v. New Yorker of Worcester, Inc. 245 N.E. 2d 420 (1969).

[23] Atamian v. Supermarkets General Corp. 369 A. 2d 38 (1976).

[24] Jsaacs v. Huntington Memorial Hosp. 695 P. 2d 653 (1985).

[25] Sharpe v. Peter Pan Bus Lines, Inc. 519 N.E. 2d 1341 (1988).

[26] Quigley v. Wilson Line of Massachusetts 154 N.E. 2d 77 (1958).

[27] Feld v. Merriam 485 A. 2d 742 (1984).

[28] Burgess v. Chicopee Savings Bank 145 N.E. 2d 688 (1957).

Israeli books cited:
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[29] Y. Sussman, Civil Processes (7" Edition, S. Levin ed., 1995)

[30] I. Englard The Philosophy of Tort Law (1993).

[31] A. Barak, ‘Liability for the Actions of Others’, in G Tedeschi ed., The
Law of Torts — the General Doctrine of Torts, 2" ed., 1977, 435.

Israeli articles cited:

[32] I. Gilead, ‘On the Elements of the Tort of Negligence in Israeli Tort
Law’, /yunei Mishpat 14 (1989) 319.

[33] I. Englard, “The Contribution of Case Law to Developments in Tort Law
— Its Self Image and Reality’, Jyunei Mishpat 1] (1986-1987) 67.

Foreign books cited:
[34] WL.L. Prosser, W.P. Keeton On the Law of Torts (St. Paul, 5" ed. 1984).

Foreign articles cited:

[35] W.M. Sanders “Between Bystander and Insurer: Locating the Duty of the
Georgia Landowner to Safeguard Against Third-party Criminal Attacks
on the Premises’ 15 Ga. St. ULL. Rev. (1999) 1099.

[36] M.J. Bazyler “The Duty to Provide Adequate Protection: Landowners’
Liability for Failure to Protect Patrons from Criminal Attack’ 21 Ariz. L.
Rev. (1979) 727.

[37] WJ. Flanagan ‘Negligent Security: Is Peter Pan A Méerchant’s
Nightmare? Sharpe v. Peter Pan Bus Lines, Inc” 24 N. Eng. L. Rev.
(1990) 1193.

[38] R. Cooter, A. Porat “Does Risk to Oneself Increase the Care Owed to
Others? Law and Economics in Conflict’ 29 The Journal of Legal Studies
(2000) 19.

Other:
[39] Restatement 2d, Zorts.

For the appellant — Moshe Inbar.

For the respondent 1 — A. Novik.
For the respondent 2 — Ron Weinstock

JUDGMENT
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Justice E. Rivlin

Justice E. Rivlin

1. The appellant Reuven Wallace, objects to the decision of the
District Court in Jerusalem (Justice D. Cheshin), which summarily
dismissed his complaint against the respondent, “EGGED’ Israel
Transport Cooperation Society (hereinafter: ‘Egged”’) for failure to state a
claim.

In coming to decide on Egged’s petition to summarily dismiss the
complaint filed against it by the appellant the District Court, as is
required, presumed that all the factual claims made in the complaint had
been adequately proven. A similar presumption will, thus, stand at the
basis of this judgment.

The Facts

2. On August 30, 1995, in the early morning hours, the appellant, a
g-d-fearing man set foot for Egged’s central bus station in Jerusalem on
his way to his place of work as the supervisor for observance of Jewish
dietary laws at the slaughterhouse ‘Marbek’ in Ashkelon. While he was
waiting for his bus, the respondent no. 2 and his friends began to gang up
on him. They threw his hat down, kicked him in the stomach and threw
him to the ground. Passersby who were in the area came to the
assistance of the appellant, and the respondent no. 2 and his friends ran
away.

The appellant was severely injured in his hand and in his shoulder and
required hospitalization at the hospital where his hand was operated on.

Respondent no. 2 was tried in a criminal trial in the Magistrates Court
in Jerusalem and convicted of an offense according to section 380 of the
Penal Law 5737-1977 which deals with an assault which causes real
injury.

The appellant filed a complaint against Egged and respondent no. 2
for damages, and this — according to the appellant — for Egged’s
negligent conduct and for its breach of a statutory duty.

The District Courts decision

3. The District Court accepted Hgged’s petition and ordered the
summary dismissal of the complaint against it, for two reasons: first, due
to an absence of a concrete duty of care under the circumstances; second,
due to the absence of a causal connection between the omission
attributed to Hgged and the appellant’s injury.

The learned judge presumed that there is a conceptual duty of care
imposed on Egged toward those who come to the Central Bus Station.
This duty, so it determined, is based on the role of Egged as a national
carrier which possesses property within which lively public activity takes
place, and that therefore contains the potential for violence. In such a
situation, the learned judge determined, there exists both a ‘technical’
foreseeability (meaning, awareness of the risk) and ‘normative’
foreseeability, as the social interests as to the public peace and public
order impose a duty on those who manage property of this type to take
care of reming in the potential violence and ensuring to a reasonable
degree the safety of the visitors. However, so determined the District
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Court, under the circumstances a concrete duty of care toward the
appellant did not arise for Egged. In mentioning the judgment of the
President (then Justice) Shamgar in CA 343/74 Grubner v. City of Haifa
[1] the learned judge determined that reasonable action was required of
Egged to safeguard the visitors to the station — but not action that would
ensure absolute protection. In this case — the Court ruled — the attack that
the respondent no. 2 and his accomplices attacked the appellant was not
foreseeable, as it came about without any provocation by the victim.

This and more was determined by the lower court: even if Kgged was
negligent in its conduct as it did not place security personnel, there was
no causal connection between its negligent conduct and the injury. Even
if a security person was in the area, so presumed the Court, he would not
have had the opportunity to assist the appellant, and it is very doubtful
whether his very presence would have been sufficient to deter the
attackers in advance. It is a fact, so noted the learned judge, that the
presence of passersby in the area did not deter the attacker.

As for the claim of the appellant as to Egged’s duty to filter the entry
of thugs to the station and to monitor the conduct of the crowd of
visitors, the District Court found that such a demand would obligate
Egged with actions which would amount to policing actions and would
infringe on basic human nights, such as freedom of movement, the
principle of equality and human dignity.

In the security instructions put out by the Israeli Police, which
constitute part of the license to manage the business of the station, the
learned judge also did not find support for the appellant’s stance as to the
question of the existence of a concrete duty of care and on the question
of the existence of a causal connection.

The lower court also dismissed the claim that Egged breached a
statutory duty, for the reason that the statutory provisions on which the
appellant wished to base his claim did not appear in the complaint. As to
this last matter there is not an appeal before us.

The objections in the appeal

4. In the appeal the appellant turned to the instructions of the Israel
Police which, as stated, constitute part of the terms of the license that
was granted to Egged. By power of these instructions Egged has the
duty to appoint someone to be responsible for security who will fulfil
tasks related to prevention of hostile acts and guarding the business and
conducting sweeps — all as per the security procedures. From these
instructions the appellant wishes to infer the existence of a duty imposed
upon Legged to take the necessary steps to maintain the security of the
visitors to the bus station.

The appellant is of the view that it is not possible to distinguish
between different types of violence, and that Egged can and should have
foreseen the violent incident the subject of the appeal, meaning
unprovoked attack. According to the appellant, Egged, as a service
provider to the public, is responsible for the safety of the public invited
by it to the station.

5. As to the causal connection the appellant distinguishes between
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the consequence of the presence of just any passersby at the station and
the significance of placing armed security people at the place. Only the
latter — so holds the appellant — may, with their presence and appearance,
create a deterrence to acts of violence. Indeed, the appellant agrees, it is
not possible to provide absolute security to the nding public, but the duty
of Egged, according to the appellant’s approach, is to place proper
security.

The appellant disagrees with the determination of the lower court,
according to which the security of the station infringes on the freedom of
movement and the principle of equality. Placing security people and
maintaining checks on the entrance of visitors, is, according the
appellant’s approach, an accepted practice in public places, and it
constitutes a proper balance between the right of the individual to
freedom of movement and the nght of the tmdividual to bodily
wholeness.

The appeal, it is my view, is to be granted.
Summary dismissal

6. The civil procedure provisions require the court to take extra
care before deciding to summarily dismiss a lawsuit. Regulation 100(1)
of the Civil Procedure Regulations 5734-1984 authorizes the court to
order dismissal of a lawsuit which does not show a claim. The court will
make use of its authority according to this regulation only when it is ‘. . .
clear and beyond any doubt, that on the basis of the facts claimed the
plaintiff cannot be successful in obtaining the remedy he seeks. . .” (Y.
Sussman, Civil Processes [29], at p. 384). The Court, in coming to
dismiss the lawsuit for lack of a claim, will therefore take extra care, and
a remote possibility that the plaintiff will succeed in obtaining the
remedy sought by him is sufficient for the court to avoid summarily
dismissing the claim (CA 76/86 Feinstein v. H.S. Hotels Lid. [2]) With
these before us — we will examine the question of the existence — in
theory— of the claim at the basis of the lawsuit here.

The tort of negligence and the duty to protect from a criminal act

7. The question which requires an answer here — although a
theoretical one only — is not easy. It is a question of liability that arises
in torts for the failure of the defendant to take precautionary measures to
prevent a criminal act that was committed by a third party against the
plaintiff. Professor I. Englard already explained the ‘borderline nature’
of this question in tort law.

*...the specific question to what extent a person is liable for
his failure to prevent the commission of a crime by another
touches upon the frontiers of tort liability. The answer to this
borderline category of cases, though formulated in terms of
traditional concepts, often induces courts to take an open
stand on the foundations of modern tort law’ (I. Englard,
The Philosophy of Tort Law [30], at p. 175).

The matter was discussed in the case law of this court, primarily in
the limited context of entrusting a weapon in the hands of a person who
used it later to commit a crime. In those cases a difficulty arose in
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establishing the existence of the causal connection between breaching the
duty and the injury. Thus, for example, in the case of CA 755/76
‘Mishmar’ Guarding and Security Services Ltd. [3] at p. 672 Justice
Asher determined that:

“There is negligent conduct in providing a weapon to a
person against instructions, but there cannot be
foresceability of murder unless there was _ concrete
knowledge of such a risk, and it matters not according to
which of the three tests established in the case law it was
learned. . .”

In CA 350/77 Kitan v. Weiss [4] the question was asked whether a
corporation is liable in torts for the fact that an employee who worked for
it as a guard took a handgun that he obtained through his work and
murdered his attorney. The President (then Justice) Shamgar determined
that the deficiencies in the managing of the corporation — and they are
lack of continuous and efficient supervision of the handgun, and the
failure to take any steps consequent to the disappearance of the handgun
for some time, about a week prior to the murder — constitute a breach of
the duty of care imposed on the corporation by authority of section 35 of
the Torts Ordinance [New Version]. As to the question of the legal causal
connection between the negligent conduct of the corporation and the act
of murder, President Shamgar determined, at pp. 801-802:

*... Acriminal act committed by another which constitutes
an intervening third party, will not be considered as the
determining cause of the injury which frees the first
negligent entity of liability in torts, if foreseeability of the
malicious act is required of the first negligent party as one
of the possible outcomes of the act or omission which
constitute the fault of the first negligent entity.’

However, in that same case it was decided that legal causation did not
exist, as the corporation was not required to foresee that a person who
was authorized by the police as fit to carry a weapon, who never was
involved in a crime and who served as a guard for many years, would be
capable of murdering his attorney over a dispute of which the
corporation knew nothing.

In a similar vein Justice Bejski noted in CA 796/80 Ohana y¥.
Avraham [5] that a wilful act of a second tortfeasor does not in all cases
break the causal connection of the first person at fault. However, in the
circumstances of that case Justice Bejski determined that:

“The act of the respondent in throwing a grenade into a club
crowded with people is so unusual in its character and so
appalling in its implementation and consequences, that it
certainly cannot be explained by common sense: and in
terms of foreseeability and predictability, it appears that
only if one of the two were to be argued and proven, would
it be possible to attribute a duty of foreseeability: either that
the armed forces knew that in the heart of the respondent
thoughts of murder and revenge is nesting, or that there was
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a reasonable suspicion or any suspicion or possibility of
knowing, that the respondent suffers from mental illness, to
the point where he does not have control of his actions or
will.’ (Ibid, at 345)
And recently, it was said by Justice Or, in CA 5355/97 State of Israel
v. Madah [6] that:

“As long as the police did not have such information,
according to which a special danger exists of the use of
weapons by Udah in a dispute with others, it does not seem
reasonable to prevent a police officer in the Israel police
from possessing a weapon, only for the reason that there is a
theoretical possibility that he would make inappropriate use
of it. Indeed, it can be said, that Udah’s superiors had no
basis to suspect or foresee that Udah would use the sub-
machine gun to resolve a dispute with his neighbours or that
he would make other inappropriate use of it. In these
circumstances, and act of murder or intentional killing by
Udah was not within the range of reasonable foreseeability
for Udah’s superiors in the police.’

On the other hand, in another case, tt was determined that a person
who holds guns and bullets in a youth center needs to foresee that youth
that come to the center will seek to take a weapon and make prohibited
use of it. Therefore — so it was decided — that person was required to
undertake reasonable precautionary measures in order to prevent this.
The negligent conduct of the appellant in that case was expressed in the
failure to properly close the window, in installing a door that is easy to
break into and lack of supervision and guarding. It was further decided,
that the foreseeable intervention of a third party in between the act of
negligent conduct and the injury, is not sufficient to break the causal
connection. (CA 576/81 Ben Shimon v. Bardah [7)).

The question whether a person must take precautionary measures with
property in his control, and which is directed at preventing damage from
the actions of criminals, was dealt with as to landlord-tenant relations in
CA 500/82 Etzioni v. Ezkar [8]. The Court did not see a difference in
principle between the case in which a tenant was injured due to the
unsafe physical condition of the property and the case where property
damage or bodily harm was caused to the tenant when he was in the
property that was in the control of the landlord, as a result of criminal
behavior of a third party, as long as the behavior was foreseeable, and it
was possible to undertake measures to prevent it. As to this matter the
Court, President (then Justice) Barak, said that:

“.. . It is not new that the tortfeasor should foresee the
criminal conduct of a third party. Such a duty has been
recognized in the past both as to negligent conduct, and as
to reckless conduct and as to malicious conduct of a third
party. Indeed, more than once, Tort law imposes a duty on
the tortfeasor to foresee intentional and criminal behavior of
a third party — conduct which causes damage...” (Ibid [8],
at pp. 740-741).
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In this context it is worth mentioning CA 126/85 R.GM Mart v. State
of Israel [9], where the duty of the police to compensate a factory that
was connected to police dispatch with an alarm system, for negligent
conduct that brought about the completion of a break-in to the factory,
was discussed and decided.

8. The issue of tort liability for failure to undertake precautionary
measures to prevent criminal acts by a third party has also been discussed
in case law in the United States. The fundamental approach which is
reflected in the case law there is that the commission of a criminal act by
a third party is not, as a rule, within reasonable foreseeability, and
therefore a person is not liable in torts for the omission of not protecting
another person from the criminal act of a third party. This is so, unless
special circumstances exist. As to the rule and the exception to it the
American court explained in one of the cases in determining:

‘It would be unjust to require one to anticipate that a crime
will be committed unless there has been a warning or unless
a previous criminal act occurred in the same premises’
(Brogan Cadillac, Etc. v. Central Jersey Bk. (1981) [15], at
p. 1110).

As arises from these words, the rule as to lack of liability has
exceptions. Thus, the American court recognized the duty of the
defendant to undertake precautionary measures against criminal acts
committed by a third party due to the nature of the relationship between
the plaintiff and the defendant or the defendant and that same third party,
for the fact that the defendant with his conduct increased the risk of the
commission of a criminal act, or for the control and supervision of the
defendant over the one committing the crime or the location of its
commission. In the framework of the first exception the court
recognized various types of relationships as giving rise to a duty to
undertake measures to prevent crime, including relationships between
hotel owner and guest; school and students; landlord and his tenants; a
business invitor and a business guest; employer and employee. (See
W.L. Prosser, W.P. Keeton On the Law of Torts [34], at pp. 201-202).

The primary tests which served the courts there when they came to
decide the question whether the criminal act that was committed against
the plaintiff by a third party was within the reasonable foreseeability of
the defendant is twofold: the first is the test of knowledge of the
approaching crime; and the second is the test of knowledge of similar
incidents that occurred in the past. In several cases a broader test was
established, which examines the totality of the circumstances of the
situation.

In one of the cases the liability in torts of a private psychiatric
hospital for a murder committed by a patient was examined. The
Supreme Court of Georgia determined that it was the hospital’s duty to
act with reasonable caution in supervising the patient who was
hospitalized at the hospital. Once the duty was breached, and as a result
the patient murdered his wife, the hospital was liable in torts for the
death of the woman, since the hospital knew of the possibility that the
patient would cause physical harm to his wife, if he had the possibility of
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doing so. (Bradley Center Inc. v. Wessner (1982) [16]; Tarasoff v.
Regents of University of California (1976) [17]; See also Englard supra
[30], at pp. 176-180).

Another issue that was dealt with in American case law relates to the
duty of care that a landowner owes to his tenants, to undertake
precautionary measures against thefts and attacks which take place on his
property (see a broad discussion in W.M. Sanders ‘Between Bystander
and Insurer: Locating the Duty of the Georgia Landowner to Safeguard
Against Third-party Criminal Attacks on the Premises’ [35)]).

In the case of Kline v. 1500 Massachusetts Avenue Apartment Corp.
(1970) [18] the federal court determined that the risk that one of the
tenants in the defendant’s apartment buildings would fall victim to
assault and robbery committed by a third party was foreseeable by the
respondent, in particular in light of similar criminal acts that occurred
previously. It was further determined there, that the prevention or
reduction of the risk — which was shared by all the tenants — was almost
exclusively in the hands of the defendant as the one with control of the
area. The court there was resolved in its view as to the division of
responsibility between the public policing entities and the owners of the
property:

‘Not only as between landlord and tenant is the landlord
best equipped to guard against the predictable msk of
intruders, but even as between landlord and the police
power of government, the landlord is in the best position to
take the necessary protective measures. Municipal police
cannot patrol the entryways and the hallways, the garages
and the basements of private multiple unit apartment
dwellings. They are neither equipped, manned, nor
empowered to do so... We note that in the fight against
crime the police are not expected to do it all; every segment
of society has obligations to aid in law enforcement and to
minimize the opportunities for crime’ (at p. 484).

Compare Goldberg v. Housing Auth. of Newark (1962) [19].

Similar considerations were weighed as to the duty of a business
owner to its customers to provide them with protection while in the
business (M.J. Bazyler “The Duty to Provide Adequate Protection:
Landowners’ Liability for Failure to Protect Patrons from Criminal
Attack’ [36]) In this context the following considerations were weighed:
whether the business foresaw or should have foreseen the possibility of
the impending occurrence of the criminal incident; whether similar
incidents occurred in the past and whether the business in terms of its
nature or its location creates convenient conditions for committing
criminal acts. (See Viands v. Safeway Stores (1954) [20]; Cornpropst v.
Sloan (1975) [21]; Carey v. New Yorker of Worcester, Inc. (1969) [22];
Atamian v. Supermarkets General Corp. (1976) [23]). As stated, in
several cases the courts in the United States made the test for
determining the foreseeability of the criminal incident more flexible and
determined that a decision in this matter is to be determined by way of
examination of the totality of circumstances in each and every case.
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(Isaacs v. Huntington Memorial Hosp. (1985) [24]).

It is also worth quoting section 344 of the Restatement 2d, Torts [39]
in this context.

“A possessor of land who holds it open to the public for
entry for his business purposes is subject to liability to
members of the public while they are upon the land for such
a purpose, for physical harm caused by accidental,
negligent, or intentionally harmful acts of third persons or
animals, and by the failure of the possessor to exercise
reasonable care to

(a) discover that such acts are being done or are likely to be
done, or

(b) give a warning adequate to enable the visitors to avoid
the harm, or otherwise to protect them against it’.

10. The question of liability in torts of a public carrier who holds
property that is filled with people to a visitor who is injured bodily by a
criminal act committed against him by a third party was discussed in the
Massachusetts Supreme Court in a matter similar to ours in the case of
Sharpe v. Peter Pan Bus Lines, Inc. (1988) [25]. In that case a sixteen
year old girl was attacked while waiting innocently for a bus at a
crowded station when two of her friends were sitting next to her —
without any provocation on her part and without warning — and was
stabbed to death in her back by a stranger — a person with a history of
mental illnesses. The attacker was convicted of second degree murder.
A civil suit was filed against the company that operates the bus lines and
against the station where the attack occurred due to their negligent
conduct in failure to undertake measures to ensure the safety of the
passengers. It was proven in the trial, that even though the station was in
an area in which much criminal activity takes place, the defendants had
no knowledge of the impending offense, nor of similar incidents that
occurred in the station in the past. Police patrols took place in the station
on the hour by the local police, which was located close to the bus
station.

Despite this it was determined that the defendants were negligent in
not providing adequate protection to visitors to the station and this
negligent conduct was the reason for the death of the girl. The Court was
of the view that the defendants are to be found liable in torts because
they did not employ a uniformed security person despite the widespread
crime in the vicinity of the station. The presence of such a security guard
— so it was determined - even if it would not have prevented the tragic
outcome from the moment the attack was in process — it was reasonable
to presume that it would have deterred the attacker in advance.

The Court relied there, infer alia, on the case in the matter of Quigley
v. Wilson Line of Massachusetts (1958) [26], where it was decided that a
public carrier owes its passengers a duty of care at a particularly high
degree, and is to foresee acts of violence by other passengers, or by
strangers, and prevent them.

In the Sharpe case [25] liability was imposed on the carrier as a
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business owner invitor for a spontaneous illogical criminal act against the
invitee, without the defendant being aware of the possibility of the
approaching occurrence of the criminal act, and was not aware of similar
occurrences that took place in that place in the past (for a discussion of
the Sharpe case [25] and its significance see W.J. Flanagan “Negligent
Security: Is Peter Pan A Merchant’s Nightmare? Sharpe v. Peter Pan Bus
Lines, Inc. [37]).

The general rule: when we come to examine the question of the
imposition of liability in torts for the failure of the defendant to protect
from a criminal act committed by a third party against the plaintiff, we
turn to examining the question of the existence of each of the elements of
the tort of negligence. At the center of the examination is the question of
the foreseeability of the criminal incident — its nature and scope. This
question may come up both at the stage of checking for the duty and at
the stage of checking for the existence of the legal causal connection
between the breach of the duty and the harmful outcome.

Survey of the case law of the courts, in this country and in the United
States reveals a tendency to impose tort liability in those cases where
there was a special relationship among those involved in the incident
(plaintiff-defendant or defendant-third party), and in those cases where
the criminal act was within the bounds of a foreseeable risk that was
created by the behavior of the defendant. (See Englard supra [30] at p.
176).

From there to here

11. The lower court determined, as stated, that the defendant in this
appeal owed a conceptual duty of care toward those coming to the
station. The foundation of this duty — so it determined — ’stems from the
role of Hgged as a public carrier which holds lands within which vibrant
public activity takes place’. (As to the responsibility of a landowner to
visitors on his lands see also CA 8/79 Goldschmidt v. Arad [10]; CA
145/80 Vaknin v. Bet Shemesh Local Council [11] (hereinafter: “the
Vaknin case’)).

However, as is known, a conceptual duty of care is not sufficient.
Once it is determined that a conceptual duty of care exists as to a certain
type of tortfeasor toward a certain type of injured parties, it is to be
examined whether there is also a concrete duty of care, meaning “.. .
whether there is a concrete duty of care between the specific tortfeasor
and the specific injured party, in the special circumstances of the case for
the specific damage that occurred.’ (The Vaknin case [11] at p. 125).

This duty — so it was determined in the District Court — did not exist
in the circumstances here, as an attack unprovoked by the victim was not
foreseeable. This conclusion had no place at this stage of the
determination of the lawsuit. It is not to be said that the complaint — on
its face — does not reveal a chance to obtain the remedy sought. As we
have seen the court is not deterred, in the appropriate cases, from
imposing liability for an omission rooted in the failure to take reasonable
precautionary measures against intentional criminal activity committed
by third parties. The station is held by Hgged and could serve as a
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widespread and fruitful area for criminal activity. (As to open public
places as a comfortable area for criminal activity see also Feld v.
Merriam (1984) [27]).

And indeed in his decision the learned judge in the lower court
determined that:

“As is the way of crowded places they are likely to become
a convenient area for a range of criminal activities,
which constitute a weighty element in creating the potential
for the occurrence of acts of violence’. (Emphasis mine-
E.R.).

In the episode before us a criminal incident in fact took place.
Indeed, the attack occurred without any provocation on the part of the
appellant, however, this is, more often than once, the way of criminal
activity, which is done toward an innocent and law-abiding citizen who
in his actions did not contribute a thing to the occurrence of the criminal
incident. This is the way of thugs. Even a criminal act which is, on its
own, sudden and quick, may come within the range of reasonable
foreseeability of the business defendant who holds the lands on which
the act occurred — and this, for the repetition of similar incidents in the
past, for the suspicious behavior of the criminal prior to committing the
act, and even — based on a broader approach — for the location of the
commission being in an area that is prone to criminal activity, and also in
light of the totality of the circumstances of the incident.

13. Criminal acts may occur — and indeed occur — in almost every
place and time, and therefore in a certain sense they are always
‘foreseeable’ in the technical sense. The American court explained this
in one of the cases:

‘Everyone can foresee the commission of crime virtually
anywhere and at any time. If foreseeability itself gave rise to
a duty to provide ‘police’ protection for others, every
residential curtilage, every shop, every store, every
manufacturing plant would have to be patrolled by the
private arms of the owner’ (Goldberg [19], at p. 293).

However, the duty of care also includes, in addition to the
requirement of ‘technical’ foreseeability, a requirement for ‘normative’
foreseeability. One is therefore to ‘sift’ and choose from a range of risks
that exist in daily life those unreasonable risks which should be foreseen,
and for which liability is imposed. This ‘sifting’ is done during the
course of the examination of the concrete duty of care (and to be more
precise — its normative aspect). President Barak explained this in the
Vaknin case [11] at pp. 126-127.

‘Daily life is full of risks, which at times materialize and
cause damage, without the creators of the risks bearing
liability in torts. The reason for this is, that those risks are
natural and regular to acceptable human activity, and for
them it was determined as a matter of legal policy that a
concrete duty of care does not materialize. The rsks are
reasonable, and proper societal life takes their existence into
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account... the unreasonable risk, for which the concrete

duty of care is imposed is that risk, which society views

with greater severity, in a manner that it requires that

reasonable precautionary measures be taken to prevent it.’

(The Vaknin matter [11], Ibid.).

And thus determined Justice M. Cheshin:

‘Every injury has a name in medicine, but not every injury

has a name of the one responsible by law. Not for every

injury that can be foreseen (in a theoretical manner), does

the law impose normative responsibility... [CA 371/90

Subachi v. Israel Train [12] at p. 349].

As for the responsibility of one who holds lands for the harmful act of

a third party it has already been said that the duty of care of a landholder
as to a visitor to land in his possession *. .. is not limited to the duty of
the holder no to cause harm to the visitor but extends also to the
anticipated activities of a given person (another invitee, or licensee or
trespasser).’ (A. Barak, ‘Liability for the Actions of Others’, in
G. Tedeschi ed., The Law of Torts — the General Doctrine of Torts [31],
at p. 465; emphases mine E.R). And the meaning is not that a duty of
care never arises in the case of a regular risk, or that one is to release the
tortfeasor, instantly and in every case, from liability, but it is to be said
that at times negligent conduct does not occur in a concrete case because
reasonable precautionary measures were undertaken taking the risk into
account.

In CA 915/91 State of Israel v. Levi (hereinafter: “the Levi case’ [13])
at p. 67 the Court lists different circumstances in which one will hesitate
to derive the existence of ‘proximity’ from the existence of foreseeability,
and they include: when it is a matter of an omission of the defendant
rather than an action, and when the injury was caused by a third party,
and not directly by the defendant. However, even the existence of these
circumstances does not suffice to instantly rule out the existence of a

duty of care. “... in such a case there will be a need for more careful
examination of the existence of proximity between the parties.” (Ibid. at
p. 67).

14. This careful examination will take place in light of the tests that
we discussed, including: whether the defendant was aware of the
impending occurrence of the criminal act (in this context one it to
examine not only the spontaneity and the suddenness of the criminal act
itself, but also the behavior of the criminal prior to the act); whether in
the past similar incidents occurred at the place of the incident; whether
criminal acts are common in that area; whether the criminal act that
occurred is a common event or exceptional in its character; whether the
defendant had the control and supervision over the criminal or the place
of the occurrence; whether, and taking into consideration the substance
of the relationship between the parties, the plaintiff could reasonably rely
on the fact that the defendant would undertake reasonable precautionary
measures to protect his safety from criminals (as to the reliance factor
compare the Levi matter [13], at p. 68); whether it is possible to learn of
the existence of the duty from the totality of the other circumstances of
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the case.

Once these have all been weighed in the appropriate circumstances
considerations of public policy will also be examined, for which the
court may refrain from determining that there exists a duty of care
between the parties. (The Levi matter [13], at p. 69-70).

15. When we take all these into account it will be necessary to make
determinations as to several factual questions before it will be possible to
decide on the question of Hggea’s liability toward the appellant. The
court may refer to the question of the frequency of criminal acts of the
type under discussion at the bus station and the question as to how
widespread purposeless wandering of groups of thugs at such early
morning hours is in the stations and its environs. The question of the
behavior of the defendant prior to the attack may also be relevant. (See
Burgess v. Chicopee Savings Bank (1957) [28]. It is possible that it will
be necessary to examine what the relationship is between the actions of
the police to prevent criminal acts in the area of the bus station and
Egged’s actions in this matter, and so too the question of what the social
and economic ramifications are of Hgged not taking precautionary
measures and the ramifications are of in fact imposing lability in such a
situation. These questions—and others — are worthy of deliberation
during the course of the tral. In their light it will be possible to make a
determination whether the risk of attack without prior provocation at the
Central Bus Station is a reasonable risk, which is to be accepted as an
integral part of said activity, or whether it is a risk, *. . . which society
views with a heightened sense of severity, in a manner that it requires
that reasonable precautionary measures be taken to prevent it.” (The
Vaknin matter [11] at p. 127).

At this stage in the proceedings, and before said questions have been
decided, it was not appropriate to determine that an incident of a sudden
ganging up by criminals on innocent passengers waiting at the Central
Bus Station was (technically) unforeseeable, and it would not be
appropriate to say that as a question of legal policy, the respondent is
exempt from undertaking any precautionary measures to prevent such
criminal activity.

16. There is in the determination on the question of the duty of care
— as to both of its aspects, the concrete and the conceptual — an aspect of
creation of a liability rule in torts. Therefore, in fact, there is a
broadening or narrowing of the boundaries of the liability in torts (I.
Gilead, ‘On the Elements of the Tort of Negligence in Israeli Tort Law’
[32] at pp. 337-338; I. Englard, ‘The Contribution of Case Law to
Developments in Tort Law — Its Self Image and Reality’ [33], at p. 76].
Although it is proper that tort liability for failure to undertake measures
to prevent crime should be applied uniformly, in my view the very fact
that the occurrence of a specific attack incident was spontaneous and
without advance provocation does not instantly remove it from the realm
of tort liability. The specific circumstances of the case are to be
examined according to the tests delineated above, and with the
presumption that a duty of care exists, it is to be further examined
whether a duty was breached and whether there exists a factual and legal
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causal connection between the negligent conduct and the injury that was
caused to the plaintiff.

17. Moreover, even if the conditions established in Eggea’s business
license are not sufficient to impose on it a duty to also ensure security
from criminal activity in the area of station, and even if the entire
purpose of the security instructions of the Israel Police is to prevent
hostile acts — there is still no doubt that these instructions reveal the
control and supervision of Egged over what goes on in the area of the
station, as well as the means at its disposal to ensure the safety of the
visitors at the station. It is possible that they can serve as an indication of
the level of conduct required of the landowner or the reasonable business
owner. The preventative costs for Egged ostensibly seem smaller than
the expectation of the expected damage, if one takes into account the fact
that in any case Egged must, according to the terms of the business
license, maintain security and guarding arrangements, and the fact that
these arrangements are also intended to prevent damage to its own
property. This damage is added to the severity of damage which is
weighed against the costs of prevention.

However these considerations belong, as stated, at the stage of
examination of the question whether Kgged breached the duty of care
imposed on it. At this stage we are only dealing with the question
whether there was a concrete duty of care imposed on Egged. As to this
matter, as stated, it is not to be determined already at this preliminary
stage that the said incident was so unusual, that it is proper to remove it
from the realm of required foreseeability, to the extent that Egged is not
to be required to take any precautionary measures to prevent it. (R.
Cooter, A. Porat “Does Risk to Oneself Increase the Care Owed to
Others? Law and Economics in Conflict’ [38]).

The District Court nghtly noted that absolute protection of the safety
of visitors to the bus station is not possible. Indeed, it is not possible and
not reasonable to demand from Egged that it prevent every criminal act
that takes place at the station. As in the words of President Barak in the
Vaknin matter [11] at p. 131:

“A tortfeasor, who owes the injured party a concrete duty
of care, is not liable to him in every case, in which injury
was caused to the injured party due to the behavior of the
tortfeasor... the question is not what is the measure that
prevents the injury in the physical sense, but the
question is what is the measure that is to be demanded to
be undertaken in the circumstances of the case. The
court must balance between the interest of the individual
injured party for his personal security, and the interest of the
tortfeasor for freedom of movement, and all this against the
background of the public imterest in continuation or
cessation of that activity. The court must consider the
danger and its extent. It must consider the social importance
of the activity. It must weigh the means necessary to
prevent it...” (Emphases mine — E.R.).

The Causal Connection
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18. The lower court also based its decision on the determination that
even if there was negligent conduct on Egged’s part — in not placing a
security person — then there is no causal connection between the
negligent conduct and the harm to the appellant. This determination was
not appropriate at this stage.

The question of the causal connection and the question of the
remoteness of the harm where a third party intervenes in the chain of
causation with an independent, intentional criminal act indeed are not
easy. But it was not appropriate to decide them in the negative at this
stage. A criminal act committed by another, who is within the realm of
an intervening third party, will not be considered as a determinative
cause for the harm which relieves the first negligent party from tort
liability, where the criminal act was foreseeable, as one of the possible
outcomes of the original negligent behavior. I. Englard explained this.

*...a deliberate wrongful intervention of a third party was not
to be considered too remote an event, as long as it could be
considered a foreseeable risk created by the conduct of the
defendant. However, in view of the fact that foreseeability is
not an objective, empirical test, but rather a normative
notion — referring to what a person “ought to foresee’ — the
imposition of liability is the result of a judicial policy
decision’ (Englard supra [30], at p. 176).

(See also CA 704/71 Agabrya v. Hameiri [14])

In this episode it is not to be determined already now that the action
of the respondent no. 2 was *.. . so uncommon in its character and so
appalling in its implementation and outcomes, that according to common
sense it certainly cannot be explained.’ (CA 796/80 [5] supra at p. 345).

19. The court assumed that even if a security person were in the
area, he would not have had the chance to assist the appellant, and it was
very doubtful whether his presence would have deterred the attackers in
advance. The fact is, so noted the learned judge, that the presence of
passersby in the area did not deter the attacker. In this matter I accept the
claim of the appellant that in terms of the deterrence effect the presence
of citizen passersby is not like the presence of a security person. The
presence of an armed and uniformed security person certainly might
deter criminals from purposeless ganging up on innocent citizens, as it
can turn the criminal act into a “high risk behavior’ (Bazyler, supra, [36],
at p. 733). In any event, as said, the premise that the presence of a
security person would have prevented the damaging outcome is not to be
ruled out, already at this preliminary stage.

I therefore suggest that the appeal be granted, the decision of the
District Court be overtummed and the case returned to the District Court to
be determined on the merits. Respondent no. | will pay attorneys’ fees in
a total sum of 15,000 NIS.

President A. Barak

I agree.
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Justice J. Tiirkel

I agree.
It was decided as per the decision of Justice A. Rivlin.

17 Av 5761
6 August 2001
